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The staff person in the public defender’s office will work with the clients
identified and referred by Pre-Trial Services. They will work to motivate
clients to accept offers to the program as well as with the attorneys to
facilitate their program entry. The staff person in the district attorney’s
office will work with the individual attorneys, law enforcement, and in
some cases with the victim to help facilitate program entry for those
qualified defendants.

These non-attorney positions are companion positions and do not replace
the Drug Court Coordinator position.

Achieve Full Drug Court Capacity
On June 25 the Drug Court program had 70 active clients.

The Drug Court program was designed to handle 100 clients. At the end
of June the census was 70, up from 55 when we started the project.

52 new cases admitted to the Drug Court tn 2006.

The first goal is to take full advantage of the existing capacity. The second
is to expand that capacity to address that potentially eligible population
who are still serving time in Jail.

The Drug Court program graduated around 39 persons last year.
Consider Drug Court Treatment and Reporting Tracks

The Drug Court has a well-run program in place and is achieving good
completion rates. Given this, the goal should be to make the program
available to more individuals.

Of Drug Court participants who graduated last year, 85% completed the program
within one year.

The program is moving the majority of individuals through the program
in a reasonable amount of time. And, unlike some Drug Court programs,
it is not holding on to individuals for lengthy terms of 14 months or
longer.

At the same time, consideration should be given to the development of
treatment ‘tracks’ of varying intensity, guided by an assessment of
criminal risk. In four experimental studies, participants who were high
risk for recidivism had better outcomes in drug court when scheduled to
attend frequent biweekly judicial status hearings. In contrast, high-risk
participants had poor outcomes when this level of contact was reduced.

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However, outcomes for low risk offenders were generally equivalent
regardless of how often they were required to appear before the court. ®

Make More Sanction Options Available for Drug Court

The Sonoma County Drug Court takes an individualized approach to
sanctions. There is no set sanction formula, but offenders know that low
level sanctions (increased AA meetings, increased testing, and extra
homework assignments) can lead to jail time.

Jail sanctions are used in a measured way. Of the 39 persons who
graduated from the program in 2006, 20% did not receive any jail
sanctions. Of the total jail sanctions imposed, the break-out by length of
jail time is as follows:

Drug Court Jail Sanctions ”
(2006)

2-3 day sanctions 90%
2 week sanctions 8%
1 month sanction 2%

Unlike the SACPA Court, Drug Court does not use community service as
a lower level sanction: staff finds the required paperwork for community
service to be cumbersome and time-consuming. This is an area where
volunteer assistance might be solicited; or those agencies using
community services might consider how screening and placement
resources could be pooled.

For those drug court clients with repeat failures though, a more intensive
community-based sanction is needed as the final step before jail. We
recommend the use of work crews that are supervised by the Probation
Department as an intermediate sanction option.

Drug Court jail sanctions in 2006 resulted in 194 jail bed days.

Filling out the sanction continuum with work crews provides more
options short of jail. And, options which do not disrupt a person’s work
can help contribute to success. The certainty of a jail sanction is an
integral part of program success, and there is evidence that shorter
sanctions may be just as effective as longer sanctions. The key appears to
be the swiftness and certainty of the sanction, not the duration.

18 Marlowe, Douglas B, et, al, “Matching Judicial Supervision to Client’s Risk Status in Drug Court,”
Crime and Delinquency, Volume 52: Issue 1: (January, 2006).

'? Sanctions represent number of violations not persons: one person could have multiple violations.
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» Pursue Development of a DUI Court

The availability of State funding for DUI courts, through the Office of
Traffic Safety, has captured the attention of judges and other players in
Sonoma County. We support the development of such a Court.

Our case processing data show that, although the majority of defendants
booked into jail on new misdemeanor and felony charges do not have
prior DUI arrests, there is a small group with a significant background.
32% of defendants booked into the Sonoma Jail on a felony charge had 2+prior
DU arrests. 22% of felony defendants had 3+ priors.

Prior DUI Arrests for those Booked

Misdemeanor Felony
None 72% 56%
One 21 11
Two 5 10
Three+ 2 22

(Case processing study data)

The key in developing such a Court is to learn from the lessons of Drug
Court. Those same principles should drive the formation of a DUI Court.
In the end, careful planning is the key. Issues to address in the planning
phase for a DUI Court include:

a) Incentive for defendant to participate

b) Voluntary vs. Mandatory participation (drug courts are, by
nature, voluntary)

c) Agreement about target population (High BA, multiple DUI,
offenses in quick succession, etc.)

d) Exclusionary Criteria

e) Screening, assessment, and placement

f) Relationship between DUI Court and existing diversion options

g) Comprehensive approach: treatment, court, testing, probation

h) Composition and Role of DUI Team

i) Program Coordinator and Support Positions Needed

j) Sanction policy

k) Anticipated Jail and System Impact

1) Dismissal policy

m) Nature, intensity and duration of treatment

n) Probation Officer caseload size

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0) Fees

p) Graduation requirements
q) Plans for Sustained funding
tr) Data Collection/ Evaluation

The County plans a trip to visit the Orange County, California program.
The reviewing of this, and other DUI programs, can be instructive.

The Orange County program has been in operation for more than two
years. [t has presented data that show low rates of DUI re-arrest/ any re-
arrest for participants. *” It is interesting to note that of defendants
screened for participation in this program, 53% declined participation or
were turned down by the team: speaking to the importance of system
incentives. It is also worth noting that the program is modeled like a drug
court: those who graduated had been in the program an average of 14
months; received phased treatment comparable to the intensity of an
outpatient treatment program; and had to meet comprehensive criteria to
graduate, including: no dirty tests for 120 days, stable living environment,
employed, support group in place, and relapse prevention curriculum
completed.

In 2006, Sonoma County AODS had close to 2,500 DUI admissions; of these,
over 600 were Multiple Offender Program (MOP) participants. (AQDS data)

The number of MOP participants does not include those persons who did
not enroll; itis estimated that the total number is closer to 800-1,000.

Of the MOP participants, it ts estimated that the vast majority (90%), are second
time offenders. (AODS data)

Address Quality of DUI program for 1* Offenders.

As the County considers the formation of a DUI Court it is a good time to
reassess the quality of the programming provided. The drug education
model has not been proven effective, yet it is the standard approach in
most jurisdictions. Sonoma County could lead the way for the State by
overlaying cognitive skill/relapse skills training to this model.

>» Standardize Offender-Based Cognitive Curricula
The Jail and other local programs all offer coursework having to do with

life skills, cognitive skills, and other topics. It would be advisable for
each program to be familiar with the materials and curriculum used by

* «Superior Court of the State of California, County of Orange DUI Court Program,’ presented at NADCP
Conference, June 15,200.

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the others, and to consider where it makes sense to adopt the same
materials.

In some cases materials can compliment each other. In other cases it
makes sense to try and adopt the same approach. This provides a
common language for the defendant as he moves through the system
(from jail to day reporting to local programs), allows the lessons to be
reinforced at each stage along the continuum, and provides continuity in
programming.

» Continue to Expand Jail Treatment Offerings

Sonoma County Jail programs with the largest number of participants: GED
courses; Self-Esteem groups; In-Motion classes (stress reduction); Religious
groups; and fail industries. (Sonoma Jail Program data)

The Sonoma County Jail offers a broad array of programs to inmates.
Probation Officers give these programs high marks. With this foundation
in place the next place to turn attention to would be the more serious
offenders. This would include group sessions for sex offenders and those
with dual diagnosis needs.

Consideration could also be given to involving deputies in some of the
programming, rotating in as co-facilitators. This is often a valuable
experience in terms of broadening perspective and fostering a more
cohesive approach to notions of offender reform.

Design Jail Programs for the Higher Risk/Mentally Ill Inmate

Programs that the probation officers recommended for adding included:
group sessions for sex offenders / violent offenders, and more services for
the mentally ill.

It is estimated that there are 180+ inmates in the jail at any giver time have
health issues. The nuntber of inmates who might be designated as ‘seriously and
persistently mentally ill’ (SPMD) is estimated, by mental health staff, to be closer
to 8%. (Sonoma mental healtlt staff)

Jail program staff continues to develop new services. One of the most
recent being a Pet Assistance Therapy program for the mentally ill, to
allow them something to do outside their cells for a period each day. Still,
the opportunity to provide more opportunities for this population to
spend additional time out of their cells (21 hours per day for the most
restrictive unit) should be pursued. A therapeutic step-down program is
an important element of transition planning, restoration, and well-being
for this population. Certainly, the lack of good recreational opportunities
in the main jail is an issue that pertains to the population in general.

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400 inmates took advantage of the Jail’s Exit Planning Class over the last fiscal
year. (Sonoma fail Program data)

Another program that should be considered for expansion is ‘Exit
Planning’. Inmates now volunteer for the program, and a relatively low
percentage of inmates exiting the jail have availed themselves of this
resource. Consideration should be given for how to incorporate this into a
standard re-entry planning approach.

Build Cognitive Curricula into Existing Jail Programs

Jail program staff is also talking about grouping programs into core sets of
services. This is a good idea, and we would encourage the Jail to take it
one step further and center these services in cognitive based programs
proven to reduce recidivism. In addition, cognitive approaches can be
inserted into existing programs. This is important in order to yield the
greatest return: programs such as drug education and talk-centered
groups would not, in and of themselves, be expected to sustain long term
change.

Broaden Availability of Starting Point

Now that the Starting Point program is in place, its expansion is limited
only by staff and logistics. The recent program expansion to accommodate
female inmates is applauded.

219 inmates were admitted to the Starting Point program fromm June 2006 to June
2007. Of these, 32% volunteered and 687% had a court order for community
treatment. (Starting Point data)

Although Starting Point is largely serving inmates who have a court order
for treatment, more than one-third of inmates volunteer to enter the
program. While all inmates should be encouraged to take advantage of
in-custody programs, where space is limited the most intensive resource
should be reserved for the higher risk/higher need inmate, with Jail and
program staff making that determination.

Review Classification Exclusions for Starting Point

In the interest of making the Starting Point program available to the
higher risk offender, the Jail should review classification policies that may
exclude inmates in that category. At this time, the program has
demonstrated that it can successfully work with a mixed group of
inmates.

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Only 11% of inmates participating in Starting Point had to be terminated for
non-compliance. (Starting Point data, 2006)

For those inmates who cannot be housed in the minimum security facility,
a discussion should be had about how to bring this program, or elements
of it, to the Main Facility.

Ensure Continuity of Treatment for those Exiting Starting Point

Over the inst fiscal year, 16% of inmates who entered Starting Point completed
the 90+ day programm.

The Starting Point program was designed as a ‘starting point’ for
community-based treatment. As such, it is not unexpected that a low
percentage of participants remained in jail long enough to complete the
program.

Of those discharged from Starting Point over the last fiscal year, 43% exited
without certain continuation in treatment. These exits incltuded: time served,
termination, pretrial release or bail, other county transfer, and sent to prisom)

Continued treatment is important to reap the full benefit of this program.
This is especially important given the low number of inmates who have
the opportunity to actually complete the full 90+ day program, and the
significance of this minimum threshold to realizing sustained, long-term
change.

Reassess Starting Point Clients at Program Exit

60% of persons entering Turning Point residential treatment from the fail had
participated in Starting Point, the in-custody treatment program.

Although the Starting Point program is designed to move participants into
residential treatment, the presumption need not be that this is the
universal outcome. Progress in the in-custody program can result in
changes that now make the person an appropriate candidate for
outpatient treatment. A treatment staft member estimated that 70-80% of
the clients exiting Starting Point might be considered appropriate for
intensive outpatient services, instead of residential.

It is estimated that 30-40% of participants in the Starting Point program already
have a job in the community.

To the extent that inmates can be appropriately transitioned to outpatient
treatment, and thereby keep their jobs, everyone benefits.

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Continue to Refine Program Data Collection

The collection of outcome data is also encouraged. It would be instructive
to track irmmate profile information, length of time in program, whether
the person exits the jail to continued treatment, and one to three year
recidivism data.

» Extend the Detox Continuum

Sonoma County has approximately 200 admissions per month to its detox
program. Law enforcement officers can bring persons for short-term
holds. Police agencies are charged $50 per admission; as a county facility
the sheriff does not pay.

The average stay is 3-5 days. According to the Detox Manager, the recommended
stay would be 5-7 days giver the issues tat attend meth use.

It is one of the few remaining social detox models in the state. Operating
at lower cost than medical model centers it is, however, dependent on
good access to a medical facility. But it can accommodate most
individuals. Only around 10% of persons must be transferred to the
hospital for care. And, there are always those few persons who are
brought directly to the Jail for detox because of complicating issues of
violence.

Approximately 10% of persons who enter the detox center move on to a
residential treatment bed.

The detox center (30 beds) is more than that; itis a program. Persons who
come to the detox facility have the opportunity to transition to a 30 day
residential treatment program (30 beds), after which they can take
advantage of a 6-month outpatient program. For those who do not avail
themselves of this, exiting the facility often means an inevitable return.

It ts estimated that 60% of persons admitted to the Sonoma County Detex
program have used the service in the past.

It is a challenge in any community to address the issue of the social
inebriate. The solution depends on access to good safe and sober housing
and case management, ata minimum. But the sober living options that
are available locally are independently run and not regulated. The
Sonoma Task Force for the Homeless is taking on tough issues, and this is
one point in the system that would benefit from some creative efforts.

It is estimated that approximately 75% of Detox clients have, at some time, been
booked into the Sonoma County fail.

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The Detox Manager recommends consideration of an incentive-based
transition program. Detox clients who agreed to remain at the Detox
facility for at least 72 hours would receive transport upon release back
home or to available housing. Thinking in terms of incentive-based
approaches to stabilization makes sense. For sustained change the other
components need to be in place as well.

> Make Full Use of Existing Resources

Contracted services are in large part operating at full capacity. Mention
has already been made of the untapped capacity in Drug Court.

Another program that could accommodate more individuals is California
Human Development Corporation’s (CHDC) Educational Sentencing
Program (ESD). This program is available as a sentence condition/ or
sentence alternative. It will accept all misdemeanor and felony offenders
sent by the courts. ESP describes itself as a ‘life skills’ program, but it
addresses a broad range of issues, including addiction and anger. The
program admitted less than 90 participants last year.

AODS treatment providers (contracted and non-contracted) are, taken together,
operating at approximately 80% of capacity.

Some non-contracted services also report having untapped capacity;
although the barrier for accessing these services can be an inability to pay.

» Review Client Fees

Offenders pay $338 for a TASC assessment, and 25% must be paid before it ts
conducted.

Client fee structures and policies should be reviewed on a periodic basis.
Care must be taken that fees do not pose a barrier to assessment and
treatment — especially for the higher risk client who pose a public safety
risk.

In the one-month TASC rejection study, 12% of clients were denied treatinent
because of outstanding money owed to TASC.

This issue was not examined in any detail; but given the study findings a
review is recommended.

» Continue the Movement from In-House to Contract Programs
In-house (county operated) alcohol and drug services cost more than

contracted services. On the face of it, contracted residential treatment
appears to cost less than half that of county operated services in Sonoma

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County (although per-day contract costs can be less than that program’s
actual costs; and the financial health of contract programs can depend on
attracting and retaining private clients.)

Some jurisdictions have retained in-house services to provide more
subsidized care, to offer specialized services not readily available through
contracts, or to manage what is considered a core group of services (detox
services, for example).

The existing AODS delivery structure (with the county managing the
principal detox service, and outpatient and residential provided both in-
house and through contracts) reflects the evolution of alcohol and drug
service management at the state and county level. The trend has been
toward contracted services, making any new services contract based. This
makes sense.

The question is whether the county should consider shifting remaining in-
house services to contract-based services, as well. Issues to consider
include cost, service quality, and client access.

VW

Strengthen System Factors Associated with ‘What Works’ Research

Criminal Justice treatment programs work with a population that has
complex and often long-standing issues. Because of this, programs must
adopt those practices proven to improve outcomes and reduce re-
offending. This means making the most of research, and addressing
system issues necessary to support positive program outcomes. These
include:

* Comprehensive Front-End Screening

» Integrated Information Systems

» Expedited Case Resolution

» A Continuum of Quality Treatment

« A Continuum of Support Services

«= A Continuum of Sanctions

« Quality Supervision and Case Management

# One Empty Bed in Jail for Immediate Sanction

» Strengthen Program Factors Associated with ‘What Works’

The research on program effectiveness is at a stage that programs can be
designed and delivered according to proven principles regarding ‘what
works’. Program reductions in recidivism range from an average 10%
reduction to a high of 30%. But poorly designed or delivered programs
can actually increase recidivism.

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Sonoma County programs do not uniformly track recidivism rates, and
we recommend this, but discharge and type of completion is collected for
report to the State. We requested one-year data for three program
categories: Drug Court, SACPA, and TASC referrals.

Sonoma County AODS Total Discharges
(Feb.2006 to Feb. 2007)

# Discharged %
Drug Court 78 6%
SACPA 628 50
TASC 547 44
Overall” 1,253 100%

The discharge numbers show that the Drug Court numbers are dwarfed
by the large number of individuals coming through the system on 1210
status (SACPA) or through TASC programs, the later of which are
primarily residential.

Sonoma County AODS Discharge Type
(Feb.2006 to Feb. 2007)

Completed” Incarcerated
Drug Court 51% 23%
SACPA 43 40%
TASC 30 21%
Overall 38% 30%

N= 1,257
Note: Other discharge types are ‘left before complete’ (with satisfactory progress
or unsatisfactory progress), and ‘death’.

Not only does the Drug Court produce better results, in terms of
completion rates, but the impact on the jail is less.

Factor Criminal Risk into Case Management

Identifying the higher risk offender can help target treatment resources,
but it can be used in other ways as well. Risk information can also be
used to design different levels of sanctions; deliver varying levels of case
management intensity; varying lengths of treatment; and different lengths

*| Overall Discharge number does not include small number of Starting Point discharges.

* Discharge data is also broken out by (hose who Lefi Before Completion with Satisfactory/Unsatisfactory
progress. 45% ofall clients in these three AODS groupings met this.

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of aftercare. This can improve outcomes and help make the most efficient
use of existing resources.

Certainly, TASC case managers are stretched thin now trying to provide
quality case management and altercare services for everyone. At
caseloads of 60 or more there is little time for more than one check-in per
month in Aftercare for many offenders. The question is whether this low
level of intensity can be expected to make a difference. Making
distinctions based on risk would allow case managers, like probation
officers, to concentrate resources on those who pose the greatest risk. This
might mean making some decisions to provide aftercare for lower risk
clients in a different manner: group aftercare, for example.

In March 2007 TASC had 405 opert cases, almost evenly split between clients in
treatment programs and those being case managed in an Aftercare phase.

In the interest of cost, group aftercare should be considered as well.
Moreover, the benefit of making aftercare a continuation of the treatment
program should be considered. That TASC does not have substantive
contact with the client during treatment (they do monitor the client's
progress) may not foster the continuity of relationship that can be
important to success.

Strengthen the Supervision/Treatment Team
Probation Officers rate TASC services as Crucial.

Neither treatment nor supervision alone produces good outcomes. For
this reason having a strong collaboration between the two is essential.
Sonoma County is ahead of the game by having TASC case management
services that can supplement their efforts. A common case plan and a
commitment on both sides to keep good communication can yield good
results.

Ensure Minimum 90 days Treatment

Research has shown that treatment must be at least 90 days to have any
long-term effect on recidivism reduction. Most of the Sonoma County
treatment programs are achieving a reasonable time in treatment.

Most outpatient and residential treatinent in the County is designed as phased
treatment, intended to last at least 6 months.

The county does have a 31-day residential treatment program, and the
challenge here is to ensure that all clients exit the program with a plan for
treatment continuation. The program is well aware of this and has a phase
II of its program that involves 6 months of outpatient. The problem is

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that, without a court order to comply, there is often little incentive to
continue.

Program duration is directly associated with outcomes. Although there
are many factors that affect program outcomes (population served, the
ability to sanction, etc.) program length is an important factor.

Drug Court participants remain in treatment an average 24 days longer than
SACPA clients.

Short-term treatment should be offered as a first phase of an overall plan
that strives for 6-9 months of treatment.

Expedite Entry into Treatment
The average time to wait for a TASC assessment is 2 weeks or longer.

Long waits for assessment impact the jail and can have a detrimental
affect on treatment. Closing this gap is addressed by having a better
front-end information collection (reducing redundant data collection and
pre-screening offenders); by expediting case processing in general (the
TASC assessment timeline conforms to that of the PSI); and, in adding
more assessment resource.

The average wait for entry into outpatient treatment is 3-7 days; the average time
fo entry into residential treatment is 6-3 weeks.

Treatment Continuity

Participants in the in-custody alcohol and drug treatment program should
not be moved back into general jail population at the end of the program.

Not all inmates who exit jail after participating m the Starting Point program
leave to continued treatment,

There should be a mechanism to move successful participants from the jail
treatment program to either a community residential or outpatient
program in a step-down fashion.

Cognitive Curricula

Research has shown that a cognitive-behavioral approach is fundamental
to sustained reductions in recidivism. This approach addresses the
thinking errors and rationalizations related to criminal activity, helps the
person identify ‘triggers’ for relapse or criminal behavior, and works to
develop individual strategies for change. It is based in role-playing and
activities that help the person practice new behavior. This is in contrast to

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programs that simply provide information, are grounded in ‘talk therapy,
are designed to boost self-esteem, or that focus primarily or exclusively on
environmental deficiencies (jobs, housing, etc.)

The majority of Sonoma County programs surveyed indicated they are cognitive
based.

Where possible, program curriculum should be shared. Making use of the
same cognitive skills curriculum across programs (one designed to
specifically address criminal risk factors, for example), would provide
continuity of treatment for offenders moving between programs, and

offers a common language for treatment providers, probation officers, and
offenders alike.

Some programs have been designed specifically for offenders and are
worth reviewing. The Starting Point program is using one such program.
Others that have been researched and proven effective include the MRT
program, and a public domain cognitive program developed by the
National Institute of Corrections (NIC).

Sanction Policies

Treatment programs are attuned to the need to provide incentives as well
as sanctions, and all programs (and probation officers) were able to
articulate a list of positive reinforcements used.

Probation Officers had a wide range of responses to the question of whether
treatinent programs provided consistent responses to violations.

The diversity of probation officer responses reflected program variability.
Treatment providers noted diverse sanction strategies for first, second and
third violations, ranging from warnings to program discharge for first
violations. In part, this may reflect the different populations served in
these programs. But it is worth more review.

In addition, programs most often noted a 2:1 ratio of sanctions to rewards.
Criminal outcome research shows (as is the case in Drug Courts), the
value of a higher ratio of rewards to punishments.

There was interest among a good percentage of Probation Officers to strengthen
the communication between themselves and the treatment community.

Specialized Services

Specialized services are often hard to deliver within a system already
stretched thin. Sonoma County can therefore be proud of its

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accomplishments in providing a higher level of specialized offender
services than many county criminal justice systems. These include:

*

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*'

Specialized Probation Caseloads
Dedicated Latino treatment
Female-specific and Prenatal Treatment
Domestic Violence Court

Specialized DA Resources

Vertical Prosecution

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Female Offenders
Good work has been done in offering services tailored for particular
populations.

Probation Officers rated the availability of services for Female offenders as
Average or Above Average.

In Sonoma County, 15% of the Jail population is female. This reflects a
national trend in increased numbers of female offenders incarcerated. The
most recent national figures show that, while mid-year jail populations
grew 2.8% from 2005 to 2006, the growth rate for females was almost two
times as high

Sonoma County has a good start on addressing female specific issue. It
has respected programs like Athena House and DAAC’s Prenatal
Treatment program.

The field is increasingly devoting attention to specialized assessment and.
services for female offenders. Most existing services have not paid
enough attention to how to tailor their approaches. A start is simply to
ensure that all programs provide the opportunity for female only sessions,
as part of the larger curricula. Programs and probation offices that offer
females an opportunity to form a safe support group report good
outcomes.

Spanish-Language Services

A significant issue for Sonoma County is the provision of services for the
Latino population. The need is real across all levels of the system.

The PSI unit struggles with the need for interpreters; TASC has one
Spanish speaking staff; and SACPA has one Intake worker and one
counselor who speak Spanish. There is limited treatment available for
Spanish-speaking individuals, and this can lead to, what one probation
officer termed ‘cookie cutter’ services. Spanish speaking domestic violence
offenders have access to a bilingual treatment program.

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